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Letters
secure in the brick, rigid connections
like nails could crack the masonry
horizontally.near the top of the wall
fhe frame settles, even slightly.

BIN Thibadeau
Norcross, Ga.

f

. Rainscreen Siding Details
To the Editor: :

lread Joseph Lstiburek’s “Water-
Managed Wall Systems” with great
interest. His Comment that today’s
#15 and #30 felts do not perform as
the old-style asphalt;impregnated
felts did is a condemnation of the

~

‘constant search for manufacturing

things more cheaply. Several years
ago, we had a similar situation with
fiberglass roof shingles cracking all
over the country because the indus-
try skimped on the amount of
asphalt needed to stabilize the fiber-
glass mats.

To prevent the problems Lstiburek
describes in his article, I have speci-
fied the rainscreen (referred to by
Lstiburek as “water-managed wall
systems”) on several houses, includ-

' ing my own, over the last 15 years,

The results appear to be very satis-

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Drives 6 Different Size
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factory: no more peeling paint, rot-
ting walls, and splitting, curling
clapboards.

I found one thing missing from
Lstiburek’s article: There is no men-
tion of the need to screen the _
drainage spaces to keep out insects
and rodents. For this, I have used
GAF's Cobra Fascia Vent, a spun plas-
tic material similar to that used for
some ridge vents. It seems to be the
perfect material for this application:
It is 3 inches wide by 1 inch thick. It
fits well between 1-by furring strips,
compressing easily to fit the depth of
the furring. It comes in 50-foot coils,
two coils per pack. You can special-
order it from building material sup-
pliers handling GAF ventilation and

_ Toofing materials.

I wish all builders and remodelers
would get on the bandwagon and
instal} all sidings on furring strips as
I'see done on Canadian modular
units shipped to Vermont. It’s an
inexpensive insurance policy that
eliminates most siding callbacks and
can only lead to satisfied customers,

Henri de Mame

Waitsfield, Vt. -

What To Do With Vermiculite
Insulation
To the Editor:

After reading your article
“Vermiculite Insulation: Asbestos

’ Threat?” (In the News, 3/03), Looked

at-a job renovating an attic and
noticed that the previous builder had
used vermiculite insulation. 1 was | ~
wondering what steps I should take
to dispose of this.-Also, I was won-.
dering if there was somewhereI |.
could send a sample to determine if
it contains tremolite. Should this
insulation be removed, or would
covering it with fiberglass insulation
be a safe alternative?
Bill Harrington
Battenkill Builders
Bennington, Vt.

continued on page 14

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. p Letters

s continued from page 12 that the area and the living space are
free of fibers. There are well-established °
methods for doing that, but it’s not
going to be cheap. Don't try to remove
the material yourself, or you're likely to
Spread asbestos fibers throughout the
living space. :

To add to the confusion, there’s a seni-
ous inconsisiency between law and sci-
ence with regard to vermiculite. Under
EPA regulations, only substances that
contain more than 1% asbestos are reg-
ulated as asbestos-containing materials.
Jim Christiansen notes that although an
individual sample of vermiculite may
contain anywhere from a nondetectable
amount of asbestos up to 5% or so, a
reading at or near the bottom of that
range definitely does not mean that the
material is safe. “The 1 percent stan-
dard was developed for things like pipe

- wrap, where you're talking about a solid
material,” he says. “The asbestos in
vermiculite is so friable and becomes
airborne so easily that it’s hazardous -
ever at very low levels.”

the problem go away, either. If you're
going fo venture into the attic, wear a
well-fitted respirator equipped with a
REPA cartridge and a disposable Tyvek
Suit; the homeowner should take similar |
precautions before going into the attic.
The only way to eliminate the prob-
lem is to have a qualified asbestos-
abatement contractor come in and
remove the vermiculite and confirm

ton Vara responds: According to EPA

’ Ft manager jim Christiansen, who
iharge of a federal cleanup of ver-

n...ilite-containing attics in Libby,

Mont., carefully covering the vermiculite

with fiberglass without disturbing it will

probably not raise enough dust to cause

much of a hazard, but it wan’t make |,

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| ETS UML Res] | et Urs Hom

Safety First, Please -
To the Editor:

14

Available in & designer
colors and in the

“With its patented Twister Lock and Cyclonic Locking

System, Cedar Peaks continues to set the standard
for siding design and engineering. These advanced
locking technologies combine to deliver wind load
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installation that contractors appreciate. Cedar Peaks
also showcases Heartland’s famed Weather Barrier
Shield and Tri-Pigment (IR) Reflective Technology.

How many times do we safety-
conscious contractors need to write
in to tell you that you have a hazard
on your front cover (3/03)? Safety
glasses on the saw stand, not on his
face! And tell me he is not making a
cut with his left arm on the right
side of the blade, .

We pay more than $30 per hun-
died paid on carpenters making less
than $22 per hour for workers’ com-

Isllowing profiles: Prove it to yourself. pensation. Do we really want to
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“Wirdload Testing is based on ASTM 5206 tasling and the results are reported pet ASTM 2679 Section 5,11.

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test — “What is wrong in this pic-
ture?? I would hate to not be able
to atlen@JLCLive this year because
of higher work comp rates. Your
careless approach to safety affects
everyone from yOu to the builder,
costing more to the end consumer.
Enough said.

I'm a Pissed-Off, Accident-Free,
Safety-First General Contractor who

